275 F.2d 41
    Fred CLAY, Jr., by His Father and Natural Guardian, FredClay, Sr., and Fred Clay, Sr., in His Own Right, Appellantin No. 13,042, Richard H. Young, Administrator of Estate ofEmma Mosby, Deceased, Appellant in No. 13,043, Mary BelleClay, Administratrix of Estate of Dock H. Mosby, Deceased,Appellant in No. 13,044, Geneva Snuggs, Administratrix ofEstate of John Henry Snuggs, Deceased, Appellant in No. 13,045,v.GREYHOUND CORPORATION, a Delaware Corporation (Defendant andThird Party Plaintiff), v. Maggie Ellison,Administratrix of Estate of SamuelEllison, Deceased (Third PartyDefendant).
    Nos. 13042-13045.
    United States Court of Appeals Third Circuit.
    Argued Feb. 5, 1960.Decided Feb. 15, 1960.
    
      Dennis C. Harrington, Pittsburgh, Pa.  (McArdle, Harrington &amp; McLaughlin, Pittsburgh, Pa., on the brief), for appellants.
      Harold E. McCamey, Pittsburgh, Pa.  (David H. Trushel, and Dickie, McCamey, Chilcote &amp; Robinson, Pittsburgh, Pa., on the brief), for Greyhound Corp.
      Before GOODRICH, HASTIE and FORMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      These are several appeals by unsuccessful plaintiffs in personal injury suits which followed a disastrous accident on the Pennsylvania Turnpike in July, 1955.  The appellants now say that, although no objection was made to the instructions of the trial judge, he committed grave and fundamental error in that he did not charge the jury on concurrent causes in terms of our decision in Kendrick v. Piper Aircraft Corporation, 3 Cir., 1959, 265 F.2d 482.  We have noted the facts of the case and we have examined the charge of the trial judge.  We see no basis for invoking the rule that even in spite of absence of objection taken at the time fundamental errors which impair the fairness of the result reached at the trial will be corrected on appeal.  The case was fairly tried and the jury returned a considered verdict.
    
    
      2
      The judgment will be affirmed.
    
    